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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

JUAN MALCA,
    Plaintiff,

v.                                      CASE NO. : 8:21-cv-53-CHE-APF

BAY TO BAY SHRADHA, INC. d/b/a
EDDIE’S CUSTOM CLEANERS, and
DIMPLE PATEL, an individual,
     Defendants.
____________________________________/


                 JOINT REPORT REGARDING SETTLEMENT

         The parties, by and through their undersigned counsel and pursuant to this

Court’s Scheduling Order, hereby jointly file their Report Regarding Settlement in

this matter. The parties have advised the Court that they:

               Have settled the case.

               Have not settled the case but wish to continue settlement discussions.

     X         Wish to engage in a formal mediation conference.

               Request a settlement conference before the United States Magistrate

               Judge.

               Have extinguished all settlement efforts and will subsequently file a

               Case Management Report.
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 3, 2021, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will

send a notice of electronic filing to all counsel of record.



                                        /s/ Brianna A. Jordan
                                        Brianna A. Jordan, Esquire




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